              Case 1:21-cr-00327-RC Document 36 Filed 08/30/21 Page 1 of 2




                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA                     :
                                              :
         v.                                   : No. 21-CR-327
                                              :
 LUKE RUSSELL COFFEE,                         :
      Defendant.                              :


                     GOVERNMENT’S OPPOSITION TO MOTION TO
                     MODIFY CONDITIONS OF PRETRIAL RELEASE

       Luke Coffee used a crutch to attack law enforcement officers as they guarded a Lower

West Terrace entrance to the U.S. Capitol during the insurrection on January 6, 2021. Coffee’s

assault, captured on video, included charging at these United States Capitol Police and

Metropolitan Police Department Officers using the crutch and, in at least one instance, using the

crutch in an attempt to strike the upper chest/head area of one of the officers. He did so as a

member of the mob attacking the Capitol during its constitutional responsibility of confirming

the results of the 2020 Presidential Election. This gravely serious conduct constituted an act of

domestic terrorism, see 18 U.S.C. § 2331(5), and resulted in a grand jury charging Coffee with

seven different felonies, including a crime of violence with a dangerous weapon. This Court

should not now relax the defendant’s conditions of release.

       For the reason’s stated in the Government’s Memorandum in Support of Pretrial

Detention, ECF No. 10, the defendant is a danger to the community and poses a serious risk of

flight. His apparent compliance with his conditions of release for four months does not negate

the danger he poses; if anything, it reflects that stringent conditions of release have been

successful in assuring the defendant’s appearance and the safety of the community. The defense

points to nothing in its request for a relaxing of the defendant’s conditions of release other than
           Case 1:21-cr-00327-RC Document 36 Filed 08/30/21 Page 2 of 2




four months of purported compliance with release conditions. The defense claims no

interference from the GPS and home confinement requirements with the defendant’s

employment, educational pursuits or anything else. It seems he merely, and entirely

understandably, would prefer fewer restrictions on his freedom of movement while he awaits

trial on the ten-count Indictment. At this juncture in the prosecution of the defendant, this Court

should not reduce its oversight of the defendant by eliminating these important conditions of his

pretrial release.


                                                    Respectfully submitted,

                                                    CHANNING PHILLIPS
                                                    ACTING UNITED STATES ATTORNEY


                                                By: ______/s/___________________
                                                   Peter Lallas
                                                   Assistant United States Attorney
                                                   N.Y. Bar Number 4290623
                                                   United States Attorney’s Office
                                                   555 Fourth Street, N.W.
                                                   Washington, D.C. 20530
                                                   Telephone: (202) 252-6879
                                                   Email: peter.lallas@usdoj.gov
